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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                            )           CASE NO. 14-51529-WLH
                                                  )
RONALD JEAN MARTIN AGENOR and                     )
TONYA WILLIAMS AGENOR,                            )           CHAPTER 7
                                                  )
         Debtors.                                 )
                                                  )
                                                  )
                                                  )
S. GREGORY HAYS, Trustee of the Estate of         )           CONTESTED MATTER
Ronald Jean Martin Agenor and                     )
Tonya Williams Agenor,                            )
                                                  )
         Objector,                                )
                                                  )
         vs.                                      )
                                                  )
JASON FELDMAN,                                    )
                                                  )
         Claimant.                                )
                                                  )


    NOTICE OF REQUIREMENT OF RESPONSE TO OBJECTION TO PROOF OF
     CLAIM NO. 9-1 FILED BY JASON FELDMAN, OF DEADLINE FOR FILING
                       RESPONSE, AND OF HEARING

       PLEASE TAKE NOTICE that S. Gregory Hays, Trustee for the estate of Ronald Jean
Martin Agenor and Tonya Williams Agenor, has filed an Objection to the above-referenced
claim seeking an order to disallow it in its entirety for purposes of distribution.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. If you do not have an
attorney, you may wish to consult one.

       If you do not want the court to grant the relief requested, or if you want the court to
consider your views, then on or before July 20, 2020, you or your attorney must:

         (1)    File with the court a written response, explaining your positions and views as to
                why your claim should be allowed as filed. The written response must be filed at
                the following address:




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                                Clerk, United States Bankruptcy Court
                                  1340 Richard B. Russell Building
                                      75 Ted Turner Drive, S.W.
                                       Atlanta, Georgia 30303

              If you mail your response to the Clerk for filing, you must mail it early enough so
              that the Clerk will actually receive it on or before the date stated above.

        (2)   Mail or deliver a copy of your written response to the Objector’s attorney at the
              address stated below. You must attach a Certificate of Service to your written
              response stating when, how, and on whom (including addresses) you served the
              response.

        If you or your attorney file a timely response, then a hearing will be held in Courtroom
1403, United States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia at 10:30 a.m.
on July 23, 2020. You or your attorney must attend the hearing and advocate your position.
However, given the current public health crisis, hearings may be telephonic only. Please check
the “Important Information Regarding Court Operations During COVID-19 Outbreak” tab at
the top of the GANB Website prior to the hearing for instructions on whether to appear in person
or by phone.

Dated: June 4, 2020                         ARNALL GOLDEN GREGORY LLP

                                            By:/s/ Michael J. Bargar
                                            Michael J. Bargar, Ga. Bar No. 645709
                                            171 17th Street, N.W.
                                            Suite 2100
                                            Atlanta, Georgia 30363-1031
                                            (404) 873-8500
                                            michael.bargar@agg.com

                                            Attorneys for Trustee




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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                          )          CASE NO. 14-51529-WLH
                                                )
RONALD JEAN MARTIN AGENOR and                   )
TONYA WILLIAMS AGENOR,                          )          CHAPTER 7
                                                )
         Debtors.                               )
                                                )
                                                )
                                                )
S. GREGORY HAYS, Trustee of the Estate of       )          CONTESTED MATTER
Ronald Jean Martin Agenor and                   )
Tonya Williams Agenor,                          )
                                                )
         Objector,                              )
                                                )
         vs.                                    )
                                                )
JASON FELDMAN,                                  )
                                                )
         Claimant.                              )
                                                )


                     OBJECTION TO PROOF OF CLAIM NO. 9-1 FILED BY
                                   JASON FELDMAN

         COMES NOW S. Gregory Hays, the Chapter 7 Trustee herein (“Trustee”) and objects to

Proof of Claim No. 9-1 filed by the Jason Feldman (“Claimant”), by showing the Court as follows:

                                                1.

         Ronald Jean Martin Agenor and Tonya Williams Agenor (the “Debtors”) filed a voluntary

petition for relief under Chapter 7 of Title 11 U.S.C. on January 23, 2014 (the “Petition Date”),

thereby initiating Case No. 14-51529-wlh (the “Case”).




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                                                    2.

        Shortly thereafter, Trustee was appointed to the Case as the Chapter 7 trustee, pursuant to

11 U.S.C. § 701(a)(1).

                                                    3.

        A bar order was issued on June 5, 2014, setting September 3, 2014 as the last day to file

proofs of claim in this case.

                                                    4.

        On August 4, 2014, Claimant filed Claim No. 9-1 (the “Claim”) in the amount of $17,340

based upon “2013 unpaid rent, plus late charges, plus rent increase triggered month-to-month after

lease expiration” and claimed that $2,775 (the statutory maximum at that time) was entitled to priority

under 11 U.S.C. § 507(a)(7). According to certain supporting documentation filed with the Claim,

the Debtors paid a security deposit of $2,800.00 to Claimant. See [Claim No. 9-1, Page 8]. Under

Section 507(a)(7), an unsecured claim is entitled to priority to extent that a deposit is paid by a

claimant in connection with the purchase, lease, or rental of property, among other things. See 11

U.S.C. § 507(a)(7). Upon information and belief, the opposite situation exists here – the Debtors

paid the deposit to the Claimant.

                                                    5.

        Therefore, Trustee objects to the Claim as being a claim entitled to priority treatment. As such,

the Claim should be allowed as a nonpriority, general unsecured claim in the amount of $17,340.00.




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        WHEREFORE, Trustee respectfully requests that the Court:

        a) Allow Claim No. 9-1 as a nonpriority, unsecured claim in the amount of $17,340.00; and

        b) Grant such other and further relief as the Court may deem just and proper.

Respectfully submitted, this 4th day of June, 2020.



                                              ARNALL GOLDEN GREGORY LLP

                                              By:/s/ Michael J. Bargar
                                              Michael J. Bargar, Ga. Bar No. 645709
                                              171 17th Street, N.W.
                                              Suite 2100
                                              Atlanta, Georgia 30363-1031
                                              (404) 873-8500
                                              michael.bargar@agg.com

                                              Attorneys for Trustee




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                                 CERTIFICATE OF SERVICE

        This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day

served a true and correct copy of the foregoing Notice Of Requirement Of Response To Objection

To Proof Of Claim No. 9-1 Filed By Jason Feldman, Of Deadline For Filing Response, And Of

Hearing and Objection To Proof Of Claim No. 9-1 Filed By Jason Feldman by first class mail on

those persons or entities set forth below at the address stated:


Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303                                     Jason Feldman
                                                      825 Bass Landing Pl
Tonya Williams Agenor                                 Greensboro, NC 27455
20533 Biscayne Blvd #119
Aventura, FL 33180                                    Jason Feldman
                                                      6092 Delshire Ct
Ronald Jean Martin Agenor                             Raleigh, NC 27614
20533 Biscayne Blvd #119
Aventura, FL 33180

        This 4th day of June, 2020.

                                                      /s/ Michael J. Bargar
                                                      Michael J. Bargar
                                                      Georgia Bar No. 645709




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